Case 2:17-cv-12179-SDW-LDW Document6 Filed 12/06/17 Page 1 of 2 PagelD: 63

Case 2:17-cv-12179-SDW-LDW Document5 Filed 12/05/17 Page 1 of 2 PagelD: 59

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

NEWARK DIVISION
In the Matter of C.G )
)
Emeric Gerval, )
)
Petitioner, ) a
) Case No. [Fle FF
v. )
)
Niurka Gonzalez, ) ORDER TO SHOW CAUSE
)
Respondent. )
)

 

UPON the accompanying Petition, verified by Petitioner, Emeric Gerval, on Nevemiber
Zre. ae 2017, and the exhibits attached hereto, it is hereby
ORDERED that respondent, Niurka Gonzalez, or her attorneys, show cause before this

Court, at the United States Courthouse, United States District Court for ea of New

   
    
 
    

Jersey, Newark Division, located at 50 Walnut Street, Newark, NewJersey 07101, Room

on the day of November, 2017 at inthe noon thereof, or as soon

a. Anorder directing
pursuant to Article 12

Respongént shall take any action to remove the child from the jurisdiction of this Court
pendig a determination on the merits of this case;

sSue an immediate order that Respondent surrender any and all of her passports and all
of the passports of the child.
Case 2:17-cv-12179-SDW-LDW Document6 Filed 12/06/17 Page 2 of 2 PagelD: 64

Case 2:17-cv-12179-SDW-LDW Document5 Filed 12/05/17 Page 2 of 2 PagelD: 60

    
 
  
  

d. Issue an order directing Respondent to pa tioner for all costs and fees incurred to
date by reason of the child’s wron moval and retention pursuant to 22 U.S.C. §
9007;

e. any such further relief,as justice and its cause may require.
ORDERED that personal service of a copy of this Order, together with the copies of the

papers upon which it was brought on respondent before the day of November, 2017, shall

be deemed sufficient.

 
